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                                     IN THE UNITED STATES DISTRICT COURT
                                         WESTERN DISTRICT OF VIRGINIA
                                              ROANOKE DIVISION

                                 CRIMINAL MINUTES - GUILTY PLEA HEARING

  Case No.: 4:18CR00012-001                   Date: 1/30/2020

  Defendant: Dashawn Romeer Anthony, custody                         Counsel: Chris Leibig, Elizabeth Pfeiffer

  PRESENT:         JUDGE:                     Michael F. Urbanski, CUSDJ          TIME IN COURT: 9:48-10:49 1h 1m
                   Deputy Clerk:              Kristin Ayersman
                   Court Reporter:            Judy Webb
                   U. S. Attorney:            Heather Carlton, Ron Huber
                   USPO:                      Kim Falatic
                   Case Agent:                none
                   Interpreter:               none

  PROCEEDINGS:

           Waiver of Indictment filed.
           Information filed.
           Amended Plea Agreement filed with court. SOF is same as previously filed.
           Defendant advised of right to have U. S. District Judge accept plea. Defendant waives this right, and executes
           Consent to Allow U. S. Magistrate Judge to accept plea
           Defendant re-arraigned as to Counts 1, 11
           Defendant placed under oath. Court questions defendant regarding his/her physical and mental condition, and
           advises defendant of his/her rights, and the nature and possible consequences of plea.
           Court accepts plea of guilty to Counts 1, 11 – Court finds the defendant fully competent and capable of making a
           knowing and informed plea.
           Guilty plea form executed and filed.
           Government summarizes evidence to support plea and rests.
           Court finds defendant guilty as charged in Counts 1, 11
           OR
           U. S. Magistrate Judge accepts plea of guilty to Counts enter counts to which defendant pled guilty and will
           recommend that the U. S. District Judge find the defendant guilty of said counts.

  DEFENDANT PLEADS:
  (list counts)


     DEF. #             GUILTY                NOT GUILTY             NOLO                       REMARKS
               1, 11
       1

       2

       3

       4

           Court orders Presentence Report.
           Copy of Presentence Report not requested.
           Defendant to remain on bond.
           Defendant remanded to custody.
           Sentencing hearing scheduled for TBA before Judge Urbanski.
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  Additional Information:
  Status Conference
  US addresses changes to PA - elimination of Ct 4, amended sentencing range to be consistent with other dfts. This dft is not
          part of the appeal - plea was before appeal filed. Parties to not feel a full plea hearing is necessary because the plea
          is under advisement. Court wants to review with dft, explaining changes and making sure that dft is fully competent
          and capable of making a knowing and informed plea.
  Court addresses new agreement terms with dft.

  Dft counsel asking for sentencing as soon as possible, inquires as to how soon PSR could be created. US does not opppose.
          USPO states using SOF instead of creating a offense conduct section of PSR, then sentencing can be set sooner.
          Parties do not oppose. Court comfortable with knowledge of case and asks to set sentencing as soon as possible -
          parties to confer and schedule with clerk.

  US notes victims were notified of hearing today and are not present today but wanted to convey their objection to sentencing
          range.

  Mr. Leibig asks for private conversation off record with counsel/court.
